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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

SCOTT LOUIS PANETTI,                            §
                                                §
                      Petitioner,               §
                                                §
v.                                              §      CIVIL ACTION NO. A-04-CA-042-RP
                                                §
BOBBY LUMPKIN, Director,                        §          * DEATH PENALTY CASE *
Texas Department of Criminal Justice,           §
Correctional Institutions Division,             §
                                                §
                      Respondent.               §

                                            ORDER

       Before the Court is Petitioner’s Advisory filed August 9, 2021 (ECF No. 238).

Previously, the Fifth Circuit remanded this case to determine Petitioner’s competency to be

executed under Ford v. Wainwright, 477 U.S. 399 (1986). (ECF No. 186). On October 22,

2018, this Court granted Petitioner’s motion to stay these proceedings to allow him to return to

state court for exhaustion purposes. (ECF No. 208). Pursuant to the stay order, counsel for

Petitioner were required to notify this Court immediately when the Texas Court of Criminal

Appeals disposed of Petitioner’s subsequent state habeas corpus application. Id. Within 45 days

of the state court’s disposition, the parties were also required to provide this Court with a joint

proposed scheduling order for the continued litigation of Petitioner’s Ford claim. Id. Neither of

these things happened.

       Instead, counsel for Petitioner filed the instant Advisory on August 9, 2021, informing

the Court that Petitioner’s subsequent state habeas application had been dismissed on June 23,

2021. (ECF No. 238). The advisory further states that, before the parties are required to submit

a joint proposed scheduling order, the Court should address new evidence “that calls into
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question the integrity of the 2008 federal evidentiary hearing on [Petitioner’s previous Ford

claim].” Id. Petitioner requests an additional thirty days to file a motion seeking relief based on

this evidence.    However, any inquiry into the integrity of the 2008 evidentiary hearing is

unnecessary at this juncture given the fact that the Court must make a new determination of

Petitioner’s Ford claim.     Indeed, the Fifth Circuit remanded this case with instructions to

“determine afresh [Petitioner]’s competency to be executed.” Panetti v. Davis, 863 F.3d 366,

378 (5th Cir. July 11, 2017) (emphasis added); (ECF No. 186).

       Accordingly, it is hereby ORDERED that:

       1.        Petitioner’s request for a 30-day extension of time to file a motion regarding the

integrity of the Court’s 2008 evidentiary hearing is DENIED.

       2.        On or before 30 days from the date of this Order, the parties shall submit a joint

proposed scheduling order for the litigation of Petitioner’s competency to be executed. The joint

proposed scheduling order should include proposed dates for the following: (1) the evidentiary

hearing itself, which is to take place no sooner than June 2022; (2) the submission of witness

lists, expert disclosures, and discovery motions prior to the hearing; (3) the submission of post-

hearing briefing following the conclusion of the hearing; and (4) any other deadline the parties

deem necessary.

        It is so ORDERED.

       SIGNED this _____
                    12th day of August, 2021.



                                                      ROBERT PITMAN
                                                      UNITED STATES DISTRICT JUDGE




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